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                           No. 23-55478

          UNITED STATES COURT OF APPEALS
               FOR THE NINTH CIRCUIT

         ALEXANDRIA MOSLEY, REJOYCE KEMP,
          BERENICE CISNEROS, BRUCE PARKER,
                                      Plaintiffs-Appellants
                                 v.
                   WELLS FARGO & CO.,
                 WELLS FARGO BANK, N.A.,
                                      Defendants-Appellees

                 Appeal from a Decision of the
                   United States District Court
             for the Southern District of California
         U.S.D.C. Case No. 3:22-cv-01976-DMS-AGS
         The Honorable Dana M. Sabraw, District Judge

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                                 INTRODUCTION

      Wells Fargo’s primary argument is elegant in its simplicity: “the PA Order is

not subject to judicial review because it is interlocutory.” Resp. Br. 14. But what

seems simple is not necessarily so. Wells Fargo’s facially simple argument ends up

failing for three reasons. First, the PA Order is final because the parties agreed it

would be. The AAA rules and the arbitration’s own structure confirm this

understanding. Second, courts often review non-merits arbitration decisions when

necessary, and Wells Fargo cannot change that fact by labeling the PA Order

“interlocutory.” And third, Supreme Court precedent authorizes judicial review of

non-merits arbitral decisions imposing class and collective procedures on bilateral

arbitration agreements. The PA Order is reviewable and the District Court’s

dismissal of the Complaint should be reversed.

                                    ARGUMENT

I     The PA Order is a Final Order Imposing Class Procedures Ripe for

      Judicial Review

      A.     Wells Fargo Concedes the PA Order Is Final and Binding

      Wells Fargo concedes to agreeing the PA Order was “final and binding,” but

nonetheless insists it did not agree the order was final “in the judicial review

sense.” Resp. Br. 22. Unfortunately for Wells Fargo, it fails to identify a




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meaningful standard for determining when a mutually-agreed-upon “final” award

is ripe for judicial review and when it is not.

         The closest Wells Fargo comes is to argue an order is “final in a judicial

review sense” when a claimant has “lost or won her claim against Wells Fargo.”

Resp. Br. 22–23. But Wells Fargo’s conception of finality conflicts with Supreme

Court and Ninth Circuit precedent. The Supreme Court has repeatedly affirmed the

power of lower courts to review pre-merits arbitral decisions imposing class or

collective procedures upon bilateral arbitration.1 And this Court has long

recognized that “[a]n arbitrator’s interim decision that is final as to a distinct issue

may also be reviewable in some circumstances.”2 Wells Fargo cannot show that a

final decision on the merits is the only type of appealable “final” decision.

         Falling back, Wells Fargo suggests the Court import the “final decision rule”

of 28 U.S.C. § 1291 into 9 U.S.C. § 10. Resp. Br. 23. But this argument relies more

on subterfuge than substance. The primary case Wells Fargo cites for its analogy,

Green Tree Financial Corp.-Alabama v. Randolph, 531 U.S. 79 (2000), says

nothing about the “finality” requirement of 9 U.S.C. § 10, which authorizes district

court review of arbitral decisions. Green Tree instead compared the language of



1
    See e.g., Stolt-Nielsen S.A. v. AnimalFeeds Int’l Corp., 559 U.S. 662, 684 (2010).
2
 In re Sussex, 781 F.3d 1065, 1071 n.2 (9th Cir. 2015) (citing Pac. Reinsurance
Mgmt. Corp. v. Ohio Reinsurance Corp., 935 F.2d 1019, 1022–23 (9th Cir. 1991)).

                                            2
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9 U.S.C. § 16, the FAA’s appellate jurisdiction statute, to cases interpreting the

“final decision rule” of 28 U.S.C. § 1291.3 But the language of 9 U.S.C. § 10 does

not incorporate the same “final decision” language of 28 U.S.C. § 1291 or 9 U.S.C.

§ 16.4 Nor does 9 U.S.C. § 10 implicate the same issues of appellate jurisdiction.

         The “final decision” rule governing appellate jurisdiction under 28 U.S.C. §

1291 is particularly inappropriate in the arbitration context.5 As Judge Posner

reasoned, one of arbitration’s primary benefits is empowering the parties to tailor

efficient procedures and confine an arbitrator’s authority to a discrete set of issues

that can then become final and ripe for judicial review.6 To impose the more

stringent “final decision” rule on arbitration would frustrate parties’ express intent

to make certain specific decisions “final and binding,” and thus reviewable.7


3
 531 U.S. at 86 (citing Digital Equip. Corp. v. Desktop Direct, Inc., 511 U.S. 863,
867 (1994) (interpreting 28 U.S.C. § 1291)).
4
  Compare 9 U.S.C. § 10 (allowing district court review of, among other things,
“mutual, final, and definite award upon the subject matter submitted”) with 9
U.S.C. § 16 (granting appellate jurisdiction from “a final decision with respect to
an arbitration”) and 28 U.S.C. § 1291 (granting appellate jurisdiction from “all
final decisions of the district courts”).
5
  Smart v. Int’l Bhd. Of Elec. Workers, Local 702, 315 F.3d 721, 726 (7th Cir.
2002) (“section 10(a)(4) should not be interpreted to incorporate the “final-
judgment rule of 28 U.S.C. § 1291”).
6
    See id.
7
    See id.


                                           3
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           The other case Wells Fargo relies upon, Bosack v. Soward, 586 F.3d 1086

(9th Cir. 2009), cuts against its argument. In Bosack, the Ninth Circuit was asked

to review five “interim awards.”8 Of the five, the arbitral panel had deemed one

award to be final and relinquished its jurisdiction.9 The Bosack court noted that an

interim award may be considered final for judicial review “if the award states it is

final and if the arbitrator intended the award to be final.”10 It determined that the

single award “satisfie[d] the criteria for finality” because the arbitrators had

explicitly stated the award was final and relinquished jurisdiction over the issue.11

           The PA Order satisfies that test. First, the parties’ adoption of the

Supplementary Rules made the PA Order “final and binding.”12 Supp. Rule MC-

6(j) (“Rulings by the Process Arbitrator will be final and binding upon the

parties…”); see 2-ER-185. Second, those same Supplementary Rules provided for

the Process Arbitrator’s authority to cease after issuing the PA Order. Supp. Rule



8
    586 F.3d at 1101–02.
9
    Id. at 1103.
10
     Id.
11
     Id.
12
   See id. at 1103 (recognizing finality of award arbitral panel “expressly made
final”); see also Stolt-Nielsen, 559 U.S. at 692 n.7 (reviewing “partial final award”
on availability class arbitration) (Ginsburg, J., dissenting).


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MC-6(i) (“The Process Arbitrator’s authority shall cease upon the rendering of the

Process Arbitrator’s ruling.”); see 2-ER-185. The arbitrator’s loss of jurisdiction

demonstrates the PA Order’s finality.13 Indeed, the parties agreed to bifurcate the

arbitration between administrative and merits phases, further indicating that they

intended for the PA Order to be final before undertaking the next phase of

arbitration.14 Resp. Br. 9. Under these circumstances, the PA Order “satisfies the

criteria for finality” and is ripe for judicial review.15


13
   Orion Pictures Corp. v. Writers Guild of Am., W., Inc., 946 F.2d 722, 724 (9th
Cir.1991) (“Where an arbitrator retains jurisdiction in order to decide a substantive
issue the parties have not yet resolved, this retention of jurisdiction indicates that
the arbitrator did not intend the award to be final.”); Smart, 315 F.3d at 725–26 (“if
the arbitrator himself thinks he’s through with the case, then his award is final and
appealable”); see also Bosack, 586 F.3d at 1103 (finding nominally “interim”
award final where panel did not reserve jurisdiction over award).
14
   See Millmen Local 550, United Bhd. of Carpenters and Joiners of Am., AFL-CIO
v. Wells Exterior Trim, 828 F.2d 1373, 1376–77 n.3 (9th Cir. 1987) (“An
agreement to bifurcate might suggest that the parties and the arbitrator desired that
each determination be final and binding.”); New United Motor, Mfg., Inc. v. United
Auto Workers Local 2244, 617 F.Supp.2d 948, 957 (N.D. Cal. 2008) (reviewing
interim decision of bifurcated arbitration proceeding); see also Hart Surgical, Inc.
v. Ultracision, Inc., 244 F.3d 231, 235 (1st Cir. 2001) (noting “tension between
desire to effectuate the parties’ intent to divide an arbitration into distinct phases,
and making sure that a losing party does not thereby forfeit an appeal by failing to
object after the completion of a phase”).
15
  Bosack, 586 F.3d at 1103; see Stolt-Nielsen, 559 U.S. at 670 n.2 (holding interim
order imposing class arbitration ripe for judicial review); but see id. at 692
(Ginsburg, J., dissenting) (recognizing majority opinion “approved immediate
judicial review” of preliminary arbitral decision authorizing class procedures in
bilateral arbitration).


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         B.     Wells Fargo’s Bright Line Rule Against Pre-Merits Review Fails

         Wells Fargo also insists the PA Order is “interlocutory” because it makes no

“final disposition of anyone’s claim.” Resp. Br. 16. Wells Fargo argues that

classifying the PA Order as “interlocutory” raises a “wall of case law” that “bars

courts from reviewing interlocutory arbitration orders.” Resp. Br. 18. But Wells

Fargo fails to tap into any of that case law here.

         Certainly, In re Sussex, 781 F.3d 1065 (9th Cir. 2015) erects no such wall.

Resp. Br. 18. In Sussex, the Court noted that “judicial review prior to the rendition

of a final arbitration award should be indulged, if at all, only in the most extreme

cases.”16 Read in isolation, this language might support Wells Fargo’s blanket rule,

but the court also noted that “[a]n arbitrator’s interim decision that is final as to a

distinct issue may also be reviewable in some circumstances.”17 Thus, even Sussex

acknowledged no blanket rule barring review of all pre-merits decisions.

         Ignoring this, Wells Fargo also argues that Sussex precludes pre-merits

interventions absent “extreme circumstances.”18 Resp. Br. 18–19. Appellants,



16
  781 F.3d at 1072 (quoting Aerojet-General Corp. v. Am. Arbitration Ass’n, 478
F.2d 248, 251 (9th Cir. 1973)).
17
 Id. at 1071 n.2 (citing Pac. Reinsurance Mgmt. Corp. v. Ohio Reinsurance
Corp., 935 F.2d 1019, 1022–23 (9th Cir. 1991)).
18
     See id. at 1073 (citing Aerojet, 478 F.2d at 251).


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Wells Fargo maintains, cannot meet the “extreme circumstances” requirement

because their complaints “boil down to cost and delay.”19 Id.

         Of course, cost and delay do not concern Wells Fargo. For Wells Fargo, they

are the point. But whatever “extreme circumstances” may mean, they must

contemplate—at the very least—that courts will intervene to prevent imposing

class or collective procedures in bilateral arbitration.

         In Stolt-Nielsen S.A. v. AnimalFeeds Int’l Corp., 559 U.S. 662, 684 (2010),

the Supreme Court considered whether a non-merits arbitration order imposing

class arbitration procedures was reviewable. The dissent argued, as Wells Fargo

does here, that the decision was not.20 See Resp. Br. 29 n.6. The Stolt-Nielsen

parties thus would have been required to follow the path Wells Fargo demands––




19
   Wells Fargo also claims that by not naming Aerojet’s “extreme circumstances”
exception in the Opening Brief, the argument is waived. Resp. Br. 19. But the
Opening Brief identified the type of circumstances––the imposition of class or
collective procedures in bilateral arbitration––that warrant judicial intervention.
Op. Br. 32–34. In any event, the Court may consider arguments raised in the
appellee’s brief or where failure to raise the issue in the opening brief did not
prejudice the opposing party. U.S. v. Ullah, 976 F.2d 509, 514 (9th Cir. 1992)
(identifying exceptions to waiver). Both exceptions apply here. Appellants
addressed the substantive argument, and Wells Fargo dedicated almost three pages
to “extreme circumstances” in its brief, all of which is “sufficient to permit an
informed resolution of the dispute.” Id. at 514; see Resp. Br. 18–20.
20
     Stolt-Nielsen, 559 U.S. at 692 (Ginsburg, J., dissenting).


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accept the class procedures imposed upon the parties, obtain a decision on the

merits, then challenge the class arbitration rulings along with the merits.21

         The majority rejected this argument, noting:

                The arbitration panel’s award means that petitions must
                now submit to class determination proceedings before
                arbitrators who, if petitioners are correct, have no
                authority to require class arbitration absent the parties’
                agreement to resolve their disputes on that basis. …
                Should petitioners refuse to proceed with what they
                maintain is essentially an ultra vires proceeding, they
                would almost certainly be subject to a petition to compel
                arbitration under 9 U.S.C. § 4. …We think it is clear on
                these facts that petitioners have demonstrated sufficient
                hardship, and that their question is fit for our review at this
                time.22

         The same reasoning applies here. It is not mere “cost and delay” that

Appellants contest—though that would be enough for just about anyone outside a

multi-billion dollar banking conglomerate like Wells Fargo—but an arbitrator

imposing class procedures on what the parties agreed was a bilateral process.23 Put

simply, Appellants cannot be required to arbitrate using these class procedures




21
     See id.
22
     Id. at 670 n.2.
23
  Id. (imposing class procedures on bilateral arbitration is “fundamentally at war
with the foundation FAA principle that arbitration is a matter of consent).


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when there is “no authority to require class arbitration.”24

           Wells Fargo’s attempt to distinguish Stolt-Nielsen is unavailing. In Stolt-

Nielsen, as here, the parties and the arbitrators agreed that the decision at issue

would be final.25 Wells Fargo suggests there may be some importance to the fact

that a “separate agreement” existed in Stolt-Nielsen, but doesn’t say what the

significance is. Resp. Br. 29. And contrary to Wells Fargo’s claim otherwise, Stolt-

Nielsen began in arbitration, not in court.26 Like Appellants here, the Stolt-Nielsen

claimants initiated arbitration and agreed to participate in procedures that led to a

non-merits decision imposing class arbitration, absent any contractual basis for it.27

In Stolt-Nielsen, the dissent opposed mid-arbitration review, raising many of the

same arguments Wells Fargo makes here.28 But the majority nonetheless


24
     Id.
25
  See Supp. Rule MC-6 (classifying Process Arbitrator’s awards as “final and
binding”); Stolt-Nielsen, 559 U.S. at 691 (“arbitrators in the matter at hand labeled
their decision “Partial Final Clause Construction Award”).
26
   Id. at 668–669. A separate litigation began in 2003, which concluded with an
understanding that the antitrust dispute was subject to arbitration. Id. at 668. In
2005, AnimalFeeds initiated a demand for arbitration, culminating in the “partial
final award” on class procedures. Id. at 669.
27
     See id. at 668, 691.
28
  See id. at 690–92 (Ginsburg, J. dissenting) (arguing the “decision that the []
arbitration clause permitted class arbitration was abstract and highly
interlocutory").


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intervened to ensure class procedures were not imposed.29 The Court should do the

same here.

         C.     Wells Fargo’s Narrow Definition of Class Procedures Ignores

                Precedent

         Wells Fargo argues the PA Order does not impose class or collective

procedures because it requires Appellants “separately, and individually” to state

certain facts. Resp. Br. 24. This argument focuses solely on conduct but ignores

that the PA Order resolved procedural issues for all current and future claimants as

a class.30 Left undisturbed, parties like Wells Fargo can impose a contract with a

class action waiver, but then pick and choose the issues to resolve on a class or

collective basis. This is not what the parties agreed upon.

         Eliding the plain substance and effect of the PA Order––which bears all the

characteristics of class procedure––Wells Fargo argues that the only class or

collective procedures the arbitrator was not allowed to impose upon bilateral

arbitration are those using “a representative plaintiff’s individual claim as a basis




29
     See Id. at 670 n.2.
30
  The PA Order applied to “all Claims submitted to the American Arbitration
Association after the service date of [the PA Order].” 2-ER-191; see Supp. Rule
MC-6(k) (“Rulings by the Process Arbitrator will be final and binding upon the
parties and Merits Arbitrator(s) with respect to subsequently filed cases…”).


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to ‘adjudicate claims of multiple parties at once, instead of in separate suits.’”31

Resp. Br. 25. The preservation of bilateral arbitration, however, is not so limited.

By focusing solely on merits determinations, Wells Fargo ignores that class

procedures invite a “procedural morass” incompatible with bilateral arbitration.32

Wells Fargo also insists that Appellants’ only option is to accept evidentiary

sanctions, obtain a decision on the merits, and then––individually–– challenge

thousands of decisions through the courts.33 See Resp. Br. 26. This outcome

necessarily “makes the process slower … [and] more costly” while depriving

Appellants (and Wells Fargo) of the “benefits of private dispute resolution.”34 This

result is “incompatible with the FAA.”35



31
     Viking River Cruises, Inc. v. Moriana, 142 S.Ct. 1906, 1920 (2022).
32
  AT&T Mobility LLC v. Concepcion, 563 U.S. 333, 348 (2011) (“the switch from
bilateral to class arbitration sacrifices the principal advantage of arbitration––its
informality––and makes the process slower, more costly, and more likely to
generate procedural morass than final judgment”).

33
  To the extent Wells Fargo’s arguments rely on events, including later actions of
the Process Arbitrator, occurring after entry of the decision below, such
“[d]ocuments or facts not presented to the district court are not part of the record
on appeal.” United States v. Elias, 921 F.2d 870, 874 (9th Cir. 1990); see Fed. R.
App. P. 10(a).
34
 Viking River, 142 S.Ct. at 1924 (citing Stolt-Nielsen, 559 U.S. at 685); see
Concepcion, 563 U.S. at 350–51.
35
     Viking River, 142 S.Ct. at 1924.


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      Even if the Court accepted Wells Fargo’s framing of these issues, the PA

Order and the process it requires bear all the hallmarks of class arbitration as

defined in Viking River. A recap of the process leading to the PA Order is

illustrative. Wells Fargo petitioned the Process Arbitrator to compel all claimants,

present and future, to meet a heightened pleading standard. Resp. Br. 10; see SER-

12–13; SER-123. It then drafted a memorandum identifying allegedly

representative Authorization Forms that, supposedly, showed deficiencies typical

throughout the class.36 SER-137–39. The Process Arbitrator relied on these

allegedly representative claims and entered an order binding a class of individuals,

including all current and future claimants. 2-ER-191. The PA Order thus “[bound]

absentees” and created “problems of notice, due process, and adequacy of

representation.” Resp. Br. 25 (quoting Viking River, 142 S.Ct. at 1920–21).

      The PA Order also failed to protect the due process rights of thousands of

current and future claimants.37 Wells Fargo retorts that due process is satisfied



36
   The memorandum highlighted “exemplar authorizations” to justify the requested
class-wide procedural order. SER-138. Beyond the “two examples” highlighted in
its memorandum, Wells Fargo assured the Process Arbitrator that its “review has
identified dozens of similar problems ….” SER-139. But the PA Order was based
on these two examples alone. See 2-ER-191.
37
  See Concepcion, 563 U.S. at 349–50 (noting class arbitration is unsuited to
protect the rights of third parties); see also Lamps Plus, Inc. v. Varela, 139 S.Ct.
1407, 1416 (2019) (“Class arbitration … also raises serious due process concerns


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merely because “[e]veryone will get a merits hearing.” Resp. Br. 26. But this

argument misses the point. All parties are entitled to the bilateral arbitration

process to which they agreed.38 Due process requires protecting the rights of absent

parties and, in the class context, protections ensuring that class representatives will

adequately represent the class.39 These protections were not present here, even as

the Process Arbitrator altered the rights of thousands of current and future

claimants.40 2-ER-191; see Supp. Rule MC-6(k) (“Rulings by the Process

Arbitrator will be final and binding upon the parties and Merits Arbitrator(s) with

respect to subsequently filed cases…”) (emphasis added).

         Tellingly, Wells Fargo never addresses the PA Order’s impact on future

claimants at all. 2-ER-191; see Supp. Rule MC-6(k). By extending the PA Order to

future claimants, the Process Arbitrator exceeded her authority by “adjudicat[ing]



by adjudicating the rights of absent members of the plaintiff class––[] with only
limited review.”).
38
     See Concepcion, 563 U.S. at 349–50; see also Lamps Plus, 139 S.Ct. at 1416.
39
  Concepcion, 563 U.S. at 350 (“[T]o bind absentees in litigation, class
representatives must at all times adequately represent absent class members, and
absent members must be afforded notice, and opportunity to be heard, and a right
to opt out of the class. At least this amount of process would be presumably
required for absent parties to be bound by the results of the arbitration.”).
40
  See id. at 349; see also Lamps Plus, 139 S.Ct. at 1416; Stolt-Nielsen, 559 U.S. at
686 (citing Ortiz v. Fibreboard Corp., 527 U.S. 815, 846 (1999)).


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the rights of absent parties.”41 The PA Order is ripe for review on that ground

alone.42

           In a last-ditch effort to muddy the waters, Wells Fargo tries to distinguish

the class procedures here from those raised in Shivkov v. Artex Risk Solutions, 974

F.3d 1051 (9th Cir. 2020) and Stolt-Nielsen. Resp. Br. 28–30. As discussed above,

Wells Fargo’s attempt to distinguish Stolt-Nielsen fails. Here, as in Stolt-Nielsen,

the parties initiated arbitration and agreed the arbitrator’s order would be final. The

arbitrators in both instances then imposed class procedures. Thus, the PA Order is

as ripe for judicial review as in Stolt-Nielsen.43

           Shivkov, while not directly addressing mid-arbitration review, must be read

in concert with Supreme Court precedent. In Shivkov, the Ninth Circuit recognized

“the structural features of class arbitration make it a ‘fundamental’ change from the

norm of bilateral arbitration.”44 Considering the Supreme Court’s precedent on


41
  Stolt-Nielsen, 559 U.S. at 686 (noting class procedures frustrate bilateral
arbitration by, among other things, “adjudicate[ing] the rights of absent parties”);
Lamps Plus, 139 S.Ct. at 1416 (recognizing “serious due process concerns by
adjudicating the rights of absent [parties]”); see Concepcion, 563 U.S. at 349.
42
  Stolt-Nielsen, 559 U.S. at 670 n.2 (holding imposition of class procedures on
bilateral arbitration demonstrated “sufficient hardship” to warrant judicial review).
43
     Id.
44
  Shivkov, 974 F.3d at 1067 (quoting Herrington v. Waterstone Mortg. Corp., 907
F.3d 502, 509 (7th Cir. 2018); see Stolt-Nielsen, 559 U.S. at 686.


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class arbitration, the Shivkov court followed seven other circuits in holding that the

availability of class arbitration was a gateway issue reserved for the courts.45

         The import of Shivkov here is threefold. First, the Shivkov court recognized

that “class arbitration is different and thus should be treated differently.”46 Thus,

the Ninth Circuit subjects class arbitration procedures to higher scrutiny––

reserving the issue to courts.47 Reaching that conclusion, Shivkov favorably relied

upon cases from outside the Ninth Circuit permitting mid-arbitration intervention

to review orders imposing class arbitration.48 Consistent with the Ninth Circuit’s

heightened scrutiny of class arbitration, and in light with Stolt-Nielsen’s

authorization of mid-arbitration review, the PA Order is subject to judicial review.

         In sum, the Court has jurisdiction to intervene. Under Wells Fargo’s

reasoning, once arbitration is commenced, a court is powerless until a decision on

the merits. This rule is as unsupported as it is unjustifiable. Judicial review protects

the rights of all parties to bilateral arbitration. No more, no less.


45
     Shivkov, 974 F.3d at 1067–68.
46
  Id. at 1067 (citing Stolt-Nielsen, 559 U.S. at 685 and Concepcion, 563 U.S. at
348–50).
47
  Id. (reserving gateway issues concerning class and collective procedures to the
courts).
48
  Id. (citing 20/20 Communications, Inc. v. Crawford, 930 F.3d 715, 717–18 (5th
Cir. 2019); Opalinski v. Robert Half Intern. Inc., 761 F.3d 326, 329 (3d Cir.
2014)).

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II    The Parties Did Not “Clearly and Unmistakably” Delegate Arbitrability

      to the Arbitrator

      Wells Fargo’s fallback argument––that an arbitrator, not the Court, should

determine arbitrability––fares no better. Indeed, Wells Fargo barely addresses the

District Court’s delegation analysis beyond claiming that it read the Agreement in

a “clear and natural way.” Resp. Br. 34. Instead, it offers a novel post hoc

interpretation of the Arbitration Agreement not raised below. Resp. Br. 34-35. But

Wells Fargo’s argument, timely or not, is not enough because it fails to

demonstrate that the Arbitration Agreement satisfies the “clear and unmistakable”

standard.

      A.     Wells Fargo’s Novel Interpretation Fails to Evidence “Clear and

             Unmistakable” Intent to Delegate Arbitrability

      Wells Fargo first argues that the District Court’s analysis was based on a

plausible interpretation of the Arbitration Agreement. But the mere existence of

some reasonable interpretation does not satisfy the more stringent “clear and

unmistakable” standard. To satisfy that “heightened standard,” the agreement must

“admit of no other reasonable interpretation.”49 Neither Wells Fargo nor the

District Court satisfies this standard.


49
  Merrion v. Jicarilla Apache Tribe, 455 U.S. 130, 148 (1982) (defining clear and
unmistakable standard); see also First Options of Chi., Inc. v. Kaplan, 514 U.S.


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      In Wells Fargo’s new interpretation of the Arbitration Agreement, the parties

begin with a broadly-worded delegation clause, defining a “dispute” as “any

unresolved disagreement between Wells Fargo and you.” Resp. Br. 35. Then, the

agreement provides examples of “disputes,” including “disagreement[s] about this

Arbitration Agreement’s meaning, application, or enforcement.” Resp. Br. 35.

      This is one interpretation, but as Wells Fargo’s own argument demonstrates,

it is by no means the agreement’s only reasonable interpretation.50 Indeed, Wells

Fargo’s explanation has multiple flaws. First, when it provided examples to

customers in other contexts, it did so in a clear and unequivocal manner. For

example, in Wells Fargo’s “Business Accounts Only” Arbitration Agreement,

included in every Deposit Account Agreement one page after the Consumer

Arbitration Agreement, it provided:

            Definition: Arbitration means an impartial third party will
            hear the dispute between Wells Fargo and you and provide
            a decision. … A “dispute” is any unresolved disagreement
            between Wells Fargo and you. A “dispute” may also
            include a disagreement about this Arbitration Agreement’s
            meaning, application, or enforcement.



938, 944–45 (1995); Local Joint Exec. Bd. v. Mirage Casino-Hotel, Inc., 911 F.3d
588, 598 (9th Cir. 2018).
50
  See Kaplan, 514 U.S. at 944–45 (finding no “clear and unmistakable” intent in
ambiguous text); Bhd. of Teamsters & Auto Truck Drivers Loc. No. 70 v. Interstate
Distrib. Co., 832 F.2d 507 (9th Cir. 1987) (parties delegate arbitrability “only if
they leave no doubt that such was their intent”).

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              […] Wells Fargo and you agree, at Wells Fargo’s or your
              request, to submit to binding arbitration all claims,
              disputes, and controversies between or among Wells
              Fargo and you (and their respective employees, officers,
              directors, attorneys, and other agents), whether in tort,
              contract or otherwise arising out of or relating in any way
              to your account(s) and/or service(s), and their negotiation,
              execution, administration, modification, substitution,
              formation, inducement, enforcement, default, or
              termination (each, a “dispute”).

2-ER-66 (emphasis added). The second paragraph expressly lists a series of

potential “disputes,” clarifying that each is a defined “dispute.” Id. But this list

excludes disagreements about the Arbitration Agreement’s “meaning, application,

or enforcement.” Had Wells Fargo intended to provide similar examples in its

consumer arbitration agreement, it could have—and would have—done so.51 Cf. 2-

ER-65.

      Second, the Arbitration Agreement’s structure undermines Wells Fargo’s

interpretation. While Wells Fargo identifies one “example” found in the

Arbitration Agreement’s definition of arbitration, the other is found in the

“[a]pplicable rules” –– an entirely different section. 2-ER-65. It strains credulity to

argue, as Wells Fargo does, that either party read the relevant portion of the

definition before skipping to far-flung sections in search of other examples. Its



51
  McLane & McLane v. Prudential Ins. Co. of Am., 735 F.2d 1194, 1195–96 (9th
Cir. 1984) (holding courts “may presume that words have the same meaning
throughout [a] contract”).

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interpretation of the Arbitration Agreement is thus unlikely, at best, falling well

short of demonstrating “clear and unmistakable” intent.

      Third, Wells Fargo’s interpretation fails to address the Arbitration

Agreement’s conditional language providing that a dispute “may also include a

disagreement over this Arbitration Agreement’s meaning, application, or

enforcement.” Resp. Br. 34. Wells Fargo insists that the word “may” provides

clarity by offering an example of a “dispute,” but Wells Fargo does not use similar

conditional language in situations where “this Arbitration Agreement is in

dispute.”52 2-ER-66. Wells Fargo could have included examples separately and

unequivocally, as it did in its Business Accounts agreement, but failed to do so.

Instead, the conditional language created uncertainty and left the Arbitration

Agreement susceptible to different interpretations.

      Appellants’ interpretation resolves the flaws arising from Wells Fargo’s

interpretation. As Appellants argue, the Arbitration Agreement begins with broad

language, defining “dispute” to mean “any unresolved disagreement.” 2-ER-65.

But this breadth is immediately undercut by conditional language suggesting that



52
   Cf. Crooks v. Wells Fargo Bank, N.A., 312 F.Supp.3d 932, 937 (S.D. Cal. 2018)
(finding clear and unmistakable delegation where agreement stated “any claim or
dispute, ... (including the interpretation and the scope of this Arbitration Provision,
and the arbitrability of the claim or dispute), ... shall, ... be resolved by neutral,
binding arbitration and not by a court action.” (emphasis added).


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disputes “may” include disagreements over “meaning, application, or

enforcement.” 2-ER-65. This language implies that some disagreements may not

be “disputes.”53 Because this interpretation is at least as reasonable as Wells Fargo

or the District Court offer, Wells Fargo fails to demonstrate the parties’ “clear and

unmistakable” intent to delegate arbitrability.

         B.    Wells Fargo Incorrectly Insists the Court Must Ignore the Carve-

               Out Provision in its Delegation Analysis

         Wells Fargo also insists the Court may not consider the carve-out provision

in its delegation analysis. Resp. Br. 35-37. It argues that courts may not look

beyond the “delegation” clause to other portions of an arbitration agreement when

deciding delegation. Id. This argument is unpersuasive.

         The primary issue––whether the contract provides clear and unmistakable

evidence of the parties’ intent to delegate arbitrability––is one of contract

interpretation. And thus, the Court must interpret the Arbitration Agreement as a

whole to determine whether the parties intended to delegate arbitrability.54 The


53
     Rent-A-Center, West, Inc. v. Jackson, 561 U.S. 63, 69 n.1 (2010).
54
   Int’l Bhd. of Teamsters v. NASA Servs., Inc., 957 F.3d 1038, 1042 (9th Cir. 2020)
(reversing district court’s order compelling arbitration where court failed to
interpret arbitration clause in context of the contract as a whole); see Idaho v.
Coeur d’Alene Tribe, 794 F.3d 1039, 1045 (9th Cir. 2015) (finding arbitration
provision did not prevent litigation by interpreting entirety of contract which
provided alternative complaint mechanism); see also Shakey’s Inc. v. Covalt, 704


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delegation issue does not change this principle. The Court must consider every

portion of the Arbitration Agreement––including the carve-out provision––to “give

effect to the intent of the parties.”55

       Wells Fargo argues that this Court’s decisions in Oracle and Caremark

prohibit consideration of the carve-out provision. Resp. Br. 35-37. But the question

is not quite whether the carve-out provision actually decides the delegation

question. See Resp. Br. 35. Instead, employing rules of contract interpretation, the

Court must consider whether the carve-out provision is relevant to the parties’

intent to delegate arbitrability.56 Op. Br. 29–31.

       Though Wells Fargo relies on both cases, neither Oracle nor Caremark

provide much guidance here. In both cases, this Court found clear and



F.2d 426, 434 (9th Cir. 1983) (“A written contract must be read as a whole and
every part interpreted with reference to the whole.”)
55
  Stolt-Nielsen, 559 U.S. at 684; see Int’l Bhd. of Teamsters, 957 F.3d at 1042;
Coeur d’Alene Tribe, 794 F.3d at 1045 (interpreting entirety of contract to limit
scope of arbitration agreement).
56
   Metro. Life Ins. v. Bucsek, 919 F.3d 184, 191 (2d Cir. 2019) (“the clearer it is
that the terms of the arbitration agreement reject arbitration of the dispute, the less
likely it is that the parties intended to be bound to arbitration the question of
arbitrability”); Cobarruviaz v. Maplebear, Inc., 143 F.Supp.3d 930, 940–41 (N.D.
Cal. 2015) (“While in isolation [the delegation clause] may appear clear, it is
inconsistent with the severability clause … which states that ‘any arbitrator or
court' could declare or determine that a provision of the Agreement is invalid or
unenforceable.”).


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unmistakable intent of delegation between two sophisticated parties after both

incorporated external rules, containing an express delegation clause, into their

respective agreements.57 In that context, “a carve-out clause in the parties’

agreement does not negate incorporation of the [external] rules.”58 Thus, these

cases merely held that by incorporating an unequivocal delegation clause into an

agreement, the parties had communicated a clear intent to delegate.59

         Unlike Oracle or Caremark, Wells Fargo identifies no outside source for

incorporating a “clear and unmistakable” delegation clause.60 Any intent to

delegate must be found in the Arbitration Agreement itself. And while Appellants

disagree with the District Court’s conclusions for the reasons discussed in the

opening brief, at least it cobbled together three separate sections of the Arbitration

Agreement to try. Resp. Br. 34. Wells Fargo does not even do that. Oracle and




57
  Oracle Am., Inc. v. Myriad Grp. A.G., 724 F.3d 1069, 1075 (9th Cir. 2013)
(UNCITRAL Rules); Caremark, LLC v. Chickasaw Nation, 43 F.4th 1021, 1026
(9th Cir. 2022) (AAA Rules).
58
     Oracle, 724 F.3d at 1075; see Caremark, 43 F.4th at 1031.

59
  Oracle, 724 F.3d at 1075 (“the parties have clearly and unmistakably delegated to
[arbitrability] to the arbitrator by incorporating the UNCITRAL rules”); see
Caremark, 43 F.4th at 1031.
60
     Cf. Oracle, 724 F.3d at 1075; Caremark, 43 F.4th at 1026.


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Caremark do not control and cannot support Wells Fargo’s approach or, for that

matter, the District Court’s.

         When accounting for the whole Arbitration Agreement, the District Court’s

error is clear. In contrast to the inconsistent and incongruous language suggesting

delegation, the carve-out provision unambiguously authorizes the courts to resolve

this dispute.61 Op. Br. 29–31. Put simply, the clarity of the carve-out provision is

straightforward evidence of the parties’ intent, and far better evidence of that intent

than any other.62 It should control here.

         C.    Wells Fargo Cannot Re-Write the Carve-Out Provision

         Finally, Wells Fargo complains that Appellants do not seek a “provisional or

ancillary remedy.” Resp. Br. 38. It argues that the carve-out only allows

“temporary remed[ies] awarded before judgment and pending the action’s

disposition.” Id. These arguments also fail.

         First, Wells Fargo’s narrow interpretation of the remedies the carve-out

provision permits end up rewriting the Arbitration Agreement’s plain language.




61
     See Bucsek, 919 F.3d at 191; Cobarruviaz, 143 F.Supp.3d at 940–41.
62
  NASDAQ OMX Grp., Inc. v. UBS Sec., LLC, 770 F.3d 1010 (2d Cir. 2014) (no
“clear and unmistakable” evidence of intent to delegate where broad arbitration
clause is subject to a qualifying provision that at least arguably covers the present
dispute”); Bucsek, 919 F.3d at 191; Cobarruviaz, 143 F.Supp.3d at 940–41.


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Relying solely on the definition of “provisional remedy,”63 Wells Fargo suggests

that the carve-out only authorizes injunctive relief as “temporary remed[ies]

awarded before judgment and pending the action’s disposition ….” Resp. Br. 38.

      But the carve-out provision does not merely authorize “provisional”

remedies–– it authorizes “provisional or ancillary remedies … such as injunctive

relief.” 2-ER-66. This language expressly provides for “ancillary” injunctive relief

separate and apart from “provisional” injunctive relief. No source defines ancillary

relief as limited to pre-merits decisions required to preserve the status quo.64

      Wells Fargo complains, however, that Appellees’ interpretation of the carve-

out is “broad,” allowing claimants to “bring any claim seeking any injunctive relief

in court at any time.” Resp. Br. 38. But that is the plain language of the Arbitration

Agreement and, therefore, it must be enforced. As drafted here, either party may

seek temporary or interim “provisional remedies” like injunctive relief, or


63
  Wells Fargo misleads by redrafting this definition to fit its narrative. Compare
Remedy, Black’s Law Dictionary (11th Ed. 2019) (defining “provisional remedy”
as “[a] temporary remedy awarded before judgment and pending the action’s
disposition, such as a temporary restraining order, a preliminary injunction, a
prejudgment receivership, or an attachment.”) with Resp. Br. 38 (“The ordinary
meaning of ‘provisional remedy” is ‘a temporary remedy awarded before judgment
and pending the action’s disposition, such as a [TRO], a prejudgment receivership,
or an attachment.”).
64
  Suit, Black’s Law Dictionary (11th Ed. 2019) (defining “ancillary suit,” as “[a]n
action, either at law or in equity, that grows out of and is auxiliary to another suit
and is filed to aid the primary suit”).


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“ancillary remedies” where injunctive relief aids in the primary cause of action or

remedy. Wells Fargo drafted the contract to these ends, so it has no occasion to

complain now.

      Second, Wells Fargo misplaces its reliance on Toyo Tire and Capriole. Resp.

Br. 40–41. The courts in those cases found that the relevant arbitration clauses

permitted only the “interim relief … necessary to preserve the status quo and the

meaningfulness of the arbitration process.”65 But both holdings were grounded in

the specific language of the arbitration clauses (or governing rules) at issue. In

particular, both clauses contained language emphasizing “provisional remedies,”

just as Wells Fargo does here.66

      But neither case involved this carve-out, which permits the parties to seek

“ancillary remedies” in court. 2-ER-65. This separate form of remedy must be

interpreted separate and apart from “provisional” remedies and should not be tied


65
  Toyo Tire Hldgs. of Am., Inc. v. Cont’l Tire N. Am., Inc., 609 F.3d 975, 981 (9th
Cir. 2010); Capriole v. Uber Techs., Inc., 7 F.4th 854, 867 (9th Cir. 2021).
66
   Toyo interpreted Article 23(2) of the International Chamber of Commerce to
allow “interim or conservatory measures” before an arbitrator hears a dispute. Toyo
Tire, 609 F.3d at 979. Capriole interpreted language that “parallel[ed] Article 23 of
the ICC rules,” which allowed parties to seek “temporary or preliminary injunctive
relief in connection with an arbitrable controversy, but only upon the ground that
the award to which that party may be entitled may be rendered ineffectual without
such provisional relief.” Capriole, 7 F.4th at 868 (emphasis in original). These two
provisions, the Capriole court held, “authoriz[ed] courts to grant interim relief but
strictly limit[ed] it to measures that preserve the status quo.” Id.


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to maintaining the status quo, lest the term mean nothing at all.67 Here, “ancillary”

means having a “subordinate, subsidiary, or secondary nature.”68 The issues here

raise precisely the kind of ancillary claims Plaintiffs may bring in court to enforce

their rights to bilateral arbitration.

         The Fifth Circuit’s analysis in Schein is more on point. Op. Br. 23. Indeed,

the carve-out language in Schein was broader than the language in the Arbitration

Agreement. See Resp. Br. 40. But while the Schein carve-out was properly read to

exempt all “actions seeking injunctive relief” from arbitration, the carve-out here

must be read to exempt all “provisional or ancillary … injunctive relief.”69 2-ER-

65. Limiting this language, as Wells Fargo urges, to incorporate a requirement of

preserving the status quo would “rewrite the unambiguous arbitration clause” and

“reach a result inconsistent with the plain text of the contract.”70 The Court should

not double-down on the District Court’s error and rewrite the carve-out provision



67
  Brinderson-Newberg Joint Venture v. Pacific Erectors, Inc., 971 F.2d 272, 218–
79 (9th Cir. 1992) (quoting Restatement (Second) of Contracts § 203(a) cmt. b
(1979) (“Since an agreement is interpreted as a whole, it is assumed in the first
instance that no part of it is superfluous.”)).
68
 Ancillary, Merriam-Webster, https://www.merriam-
webster.com/dictionary/ancillary (last visited Sept. 20, 2023).

 Archer & White Sales, Inc. v. Henry Schein, Inc., 935 F.3d 274, 282 (5th Cir.
69


2019) (Schein).
70
     Id. at 283 (citing E.E.O.C. v. Waffle House, 534 U.S. 279, 294 (2002)).


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to impose limitations that were appropriate in Toyo and Capriole, but are not

here.71

         Third, Wells Fargo’s resort to canons of construction also fails. It insists that

its narrow reading is supported by noscitur a sociis, which supposedly requires the

Court to interpret the term “injunctive relief” with reference to the surrounding

terms “garnishment, attachment, [and] appointment of a receiver.” Resp. Br. 38–

39. Courts may only apply this doctrine, however, “where words are of obscure or

doubtful meaning.”72 No one has argued that the term “injunctive relief” is

ambiguous or needs further explication. Wells Fargo’s invocation of this doctrine

only “create[s] ambiguity where the [carve-out]’s text and structure suggest

none.”73

         Even if the term “injunctive relief” was tinged with ambiguity, noscitur a

sociis would not support Wells Fargo’s position. The remedies described in the

contract’s terms are not strictly “provisional” or interim remedies limited to

preserving the status quo but are available after a decision on the merits to enforce


71
  Id. at 282–83; see Maguire Ins. Agency, Inc. v. Amynta Agency, Inc., --- F. Supp.
3d ---, 2023 WL 372381, at *8 (W.D. Wash. Jan. 24, 2023); see also Concepcion,
563 U.S. at 339.
72
 Leuthaser v. United States, 71 F.4th 1189, 1199 (9th Cir. 2023) (quoting Russell
Motor Car Co. v. United States, 261 U.S. 514, 520 (1923)).
73
     Ali v. Fed. Bureau of Prisons, 552 U.S. 214, 227 (2008).


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a judgment.74 While Wells Fargo claims the surrounding language “inform[s] the

meaning of ‘injunctive relief’” it fails to articulate what that meaning is. See Resp.

Br. 39. Wells Fargo’s resort to canons of construction needlessly injects ambiguity

where there is none––the carve-out authorizes injunctive relief that is “provisional

or ancillary.”75

         Fourth, and finally, Appellants’ first cause of action seeks a “provisional

remedy” under any definition. See Resp. Br. 38. Wells Fargo concedes that the first

cause of action seeks a preliminary injunction “enjoining enforcement [of the PA

order]” or “stay[ing] arbitration altogether, pending a hearing on the merits to

decide if Defendants … have violated their agreement with Plaintiffs.” Resp. Br.

42–43. Either injunction would be “a temporary remedy awarded before judgment

and pending the action’s disposition.”76 See Resp. Br. 38. Further, either injunction

would preserve the status quo by ensuring judicial review of an order imposing

class arbitration.77 Therefore, even using the narrow definition Wells Fargo offers,



74
  See, e.g., Cal. Code. Civ. Proc. § 706.010 (garnishment); Cal. Code Civ. Proc. §
708.620 (“The court may appoint a receiver to enforce the judgment ….”).
75
     Ali, 552 U.S. at 227.
76
  Remedy, Black’s Law Dictionary (11th Ed. 2019) (defining “provisional
remedy”).
77
  See Stolt-Nielsen, 559 U.S. at 670 n.2 (authorizing judicial review to prevent
arbitration before arbitrators with no authority to require class arbitration).

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the carve-out provision authorizes Appellants to seek injunctive relief through their

first cause of action.

                                  CONCLUSION

      Wells Fargo has always treated arbitration as a black box shielded from any

kind of accountability or review, and this case is no different. While Wells Fargo is

used to getting away with this kind of brazen manipulation of the process, the

Court may intervene here because the PA Order here is final and imposes class

procedures. If Wells Fargo wills bilateral arbitration upon Appellants (and its other

customers), then bilateral arbitration Wells Fargo shall get. The District Court’s

order should be reversed with instructions to direct the Process Arbitrator to enter

an order respecting the limits demanded by bilateral arbitration.


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                      CERTIFICATE OF COMPLIANCE

Pursuant to Federal Rule of Appellate Procedure 32(a)(7)(C), I certify that:

      Appellants’ Opening Brief complies with the type-volume limitations of

Federal Rule of Appellate Procedure 32(a)(7)(B) as this brief contains 6,858

words, excluding the parts of the brief exempted by Federal Rule of Appellate

Procedure 32(a)(7)(B)(iii).

      Appellants’ Opening Brief complies with the typeface requirements of Rule

32(a)(5) and the type style requirements of Rule 32(a)(6) of the Federal Rules of

Appellate Procedure. Appellants’ Opening Brief has been prepared in a

proportionately-spaced typeface using Microsoft® Word for Microsoft 365 MSO

(Version 2301 Build 16.0.16026.20002), and Times New Roman 14-point font.


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